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                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK; STATE OF ARIZONA;
STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT;
STATE OF DELAWARE; STATE OF HAWAII;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; COMMONWEALTH                      Case No. 1:25-cv-01144 (JAV)
OF MASSACHUSETTS; STATE OF
MINNESOTA; STATE OF NEVADA; STATE OF                 MOTION FOR ADMISSION
NEW JERSEY; STATE OF NORTH CAROLINA;                 PRO HAC VICE
STATE OF OREGON; STATE OF RHODE
ISLAND; STATE OF VERMONT; and STATE OF
WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.




     Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern

and Eastern Districts of New York, I, Nicholas R. Green, hereby move this Court for an

Order for admission to practice Pro Hac Vice to appear as counsel for Plaintiff State of

California in the above-captioned action.

     I am in good standing of the bars of the State of California and the Commonwealth

of Massachusetts, and there are no pending disciplinary proceedings against me in any


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state or federal court. I have never been convicted of a felony. I have never been

censured, suspended, disbarred or denied admission or readmission by any court. I have

attached the declaration pursuant to Local Rules 1.3 and 1.9.

Dated: February 24, 2025                     Respectfully submitted,


                                                 s/ Nicholas R. Green
                                             NICHOLAS R. GREEN
                                              Deputy Attorney General
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